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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Tracy Proctor                                            Civil No. 20-cv-2472 (JRT/DTS)

                         Plaintiff,
 v.                                                    DECLARATION OF CRAIG J.
                                                             JOHNSON
 Unum Life Insurance Company of America,

                         Defendant.


          Craig J. Johnson declares as follows:

      1.         I am an Appeals Director for Unum Group, the parent company of Unum

Life Insurance Company of America (“Unum”) and I offer this declaration in support of

Unum’s Motion for Judgment on the Administrative Record.

      2.         I have firsthand knowledge of all matters asserted herein.

      3.         Attached as Exhibit A is a true and accurate copy of the Administrative

Record cited in Unum’s Memorandum of Law.

      4.         The Administrative Record was compiled by Unum in the ordinary course of

its business of administering Plaintiff’s claims for long term disability benefits pursuant to

policy number 606015 and contains documents labeled as UA-CL-LTD-000001 through

002007.

           I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Dated: __________                            __________________________________
                                             Craig J. Johnson
                                             Appeals Director


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